
633 So.2d 542 (1994)
R.B., A Child, Appellant/Cross-Appellee,
v.
STATE of Florida, Appellee/Cross-Appellant.
No. 93-1699.
District Court of Appeal of Florida, Fifth District.
March 11, 1994.
James B. Gibson, Public Defender, and Kenneth Witts, Asst. Public Defender, Daytona Beach, for appellant/cross-appellee.
Robert A. Butterworth, Atty. Gen., Tallahassee, and Carmen F. Corrente, Asst. Atty. Gen., Daytona Beach, for appellee/cross-appellant.
DAUKSCH, Judge.
This is an appeal from an order committing a juvenile to state custody after a finding of delinquency.
The printed-form order has a check-mark on it indicating it is an order based upon a petition filed January 26, 1993. In that order the child was committed to custody until his nineteenth birthday, yet the charge against *543 him, to which he pleaded nolo contendere, was a simple misdemeanor battery. Because the maximum sentence for battery is one year and because the child was fifteen years old at the time he was sentenced, the commitment was excessive. M.H. v. State, 621 So.2d 527, 528 (Fla. 2d DCA 1993); A.R. v. State, 593 So.2d 1128, 1128-1129 (Fla. 1st DCA 1992); § 39.054(4), Fla. Stat. (1993). While we realize there was discussion and an apparent misunderstanding regarding some violation of community control, the record is clear. The petition against the child concerned only the battery and the commitment order referred only to the petition.
The commitment order is quashed and this cause remanded for recommitment to no more than one year, with credit for any time served.
ORDER QUASHED; REMANDED.
PETERSON and GRIFFIN, JJ., concur.
